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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION




UNITED STATES OF AMERICA                           §

      VS                                           §     CRIMINAL NO. L-05-2199-01

ARCADIO MARCELO GONZALEZ                           §


                                             ORDER

        BE IT REMEMBERED on this          9TH          day of      DECEMBER             , 2005 , the Court

reviewed the file in the above-captioned matter and specifically the Report and Recommendation of the

United States Magistrate Judge filed NOVEMBER 25, 2005, wherein the defendant waived appearance

before this Court and appeared before the United States Magistrate Judge Felix Recio for the taking of a

felony guilty plea and Federal Rule of Criminal Procedure Rule 11 Allocution. The magistrate judge

recommends that the plea of guilty be accepted by the undersigned, and noting no opposition by defendant

to the Report and Recommendation, the Court enters the following order:

        IT IS ORDERED that the Report and Recommendation of the United States Magistrate Judge be and

is hereby adopted.

        SIGNED this the    9TH   day of         DECEMBER             , 2005.




                                                 ____________________________________

                                                             George P. Kazen
                                                         United States District Judge
